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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                              August 16, 2023
                      FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                                          §
                                                §       CASE NO: 23-90147
MOUNTAIN EXPRESS OIL COMPANY,                   §       CHAPTER 11
                                                §       David R. Jones
         Debtors.                               §       Jointly Administered

      ORDER DIRECTING THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

       For the reasons stated on the record and with the restrictions noted, the Court directs the
United States Trustee to appoint a chapter 11 trustee.

         SIGNED: August 16, 2023.



                                                    __________________________________
                                                    DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE




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